                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO.: 3:09CR32-MOC-DCK

UNITED STATES OF AMERICA,           )
          Plaintiff,                )
vs.                                 )
                                    )                                   ORDER
RONECA CHARNEE WHITE,               )
            Defendant.              )
                                    )
___________________________________ )

        THIS MATTER IS BEFORE THE COURT sua sponte to clarify the status of Defendant’s

legal representation. The docket in the case reflects that attorney Claire Rauscher has represented

the Defendant by court appointment since March 12, 2009. Ms. Rauscher was formerly the Federal

Defender for this district, but she recently left that position to enter the private practice of law with

the firm of Womble Carlyle. While the Court is informed that Ms. Rauscher is not technically a

current member of the district’s CJA Panel, the Court observes that it makes great practical sense

for Ms. Rauscher to continue as the Defendant’s appointed counsel through the conclusion of this

matter. Ms. Rauscher after all has served as the Defendant’s lawyer for over two years now, and

it appears that the matter is pending sentencing.

        IT IS THEREFORE ORDERED that Ms. Claire Rauscher of the firm Womble Carlyle is

appointed to continue her representation of the Defendant through the conclusion of this case.

        SO ORDERED.
                                                    Signed: June 29, 2011




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